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 4                                                                  4/9/2024
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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2024 Grand Jury

11   UNITED STATES OF AMERICA,               CR   2:24-cr-00236-SPG

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(A)(viii): Possession with
14                                           Intent to Distribute
     JASVEEN SANGHA,                         Methamphetamine; 21 U.S.C.
15                                           §§ 841(a)(1), (b)(1)(E)(i);
                                             Distribution and Possession with
16             Defendant.                    Intent to Distribute Ketamine; 21
                                             U.S.C. § 853: Criminal Forfeiture]
17

18

19        The Grand Jury charges:
20                                     COUNT ONE
21                     [21 U.S.C. §§ 841(a)(1), (b)(1)(E)(i)]
22        On or about March 18, 2024, in Los Angeles County, within the
23   Central District of California, defendant JASVEEN SANGHA knowingly
24   and intentionally distributed ketamine, a Schedule III controlled
25   substance.
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 1                                     COUNT TWO

 2                  [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]

 3        On or about March 19, 2024, in Los Angeles County, within the

 4   Central District of California, defendant JASVEEN SANGHA knowingly

 5   and intentionally possessed with intent to distribute at least 500

 6   grams, that is, approximately 1,409.7 grams, of a mixture and

 7   substance containing a detectable amount of methamphetamine, a

 8   Schedule II controlled substance.

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 1                                    COUNT THREE

 2                    [21 U.S.C. §§ 841(a)(1), (b)(1)(E)(i)]

 3        On or about March 19, 2024, in Los Angeles County, within the

 4   Central District of California, defendant JASVEEN SANGHA knowingly

 5   and intentionally possessed with intent to distribute ketamine, a

 6   Schedule III controlled substance.

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 1                              FORFEITURE ALLEGATION

 2                                [21 U.S.C. § 853]

 3         1.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 21,

 6   United States Code, Section 853, in the event of the defendant’s

 7   conviction of the offenses set forth in any of Counts One through

 8   Three of this Indictment.

 9         2.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   All right, title and interest in any and all property,

12   real or personal, constituting or derived from, any proceeds which

13   the defendant obtained, directly or indirectly, from any such

14   offense;

15              (b)   All right, title and interest in any and all property,

16   real or personal, used, or intended to be used, in any manner or

17   part, to commit, or to facilitate the commission of any such offense;

18   and

19              (c)   To the extent such property is not available for

20   forfeiture, a sum of money equal to the total value of the property

21   described in subparagraphs (a) and (b).

22         3.   Pursuant to Title 21, United States Code, Section 853(p),

23   the defendant, if so convicted, shall forfeit substitute property if,

24   by any act or omission of the defendant, the property described in

25   the preceding paragraph, or any portion thereof: (a) cannot be

26   located upon the exercise of due diligence; (b) has been transferred,

27   sold to, or deposited with a third party; (c) has been placed beyond

28   the jurisdiction of the court; (d) has been substantially diminished

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 1   in value; or (e) has been commingled with other property that cannot

 2   be divided without difficulty.

 3

 4                                              A TRUE BILL
 5

 6                                                            /s/
                                                Foreperson
 7
     E. MARTIN ESTRADA
 8   United States Attorney
 9   MACK E. JENKINS
     Assistant United States Attorney
10   Chief, Criminal Division
11

12
     SCOTT M. GARRINGER
13   Assistant United States Attorney
     Deputy Chief, Criminal Division
14
     IAN V. YANNIELLO
15   Assistant United States Attorney
     Chief, General Crimes Section
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